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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    Desolation Holdings LLC, et al., 1                       Case No. 23-10597 (BLS)

                           Debtors.                          (Jointly Administered)

                                                             Ref. Docket No. 9


INTERIM ORDER: (A) AUTHORIZING THE DEBTORS TO INCUR POST-PETITION
 DEBT, (B) GRANTING SUPER-PRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
  (C) SCHEDULING A FINAL HEARING, AND (D) GRANTING RELATED RELIEF

             This matter is before the Court on the Motion (the “Motion”) of Desolation Holdings LLC

and its affiliated debtors, Bittrex, Inc., Bittrex Malta Holdings Ltd., and Bittrex Malta Ltd., as

debtors and debtors in possession (collectively, the “Debtors” and, together with their non-debtor

affiliates, “Bittrex”), in these chapter 11 cases (the “Chapter 11 Cases”), requesting entry of an

interim order (this “Interim Order”) and a final order (the “Final Order”) pursuant to

sections 105(a), 363, and 364 of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101,

et seq. (the “Bankruptcy Code”) and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 4001-2 of the Local Rules of Bankruptcy Practice and Procedure

for the United States Bankruptcy Court for the District of Delaware (as amended, the “Local

Bankruptcy Rules”):

             (a)    authorizing the Debtors to obtain post-petition financing from Aquila Holdings Inc.

(or its designee) (the “DIP Lender”), consisting of a super-priority delayed draw credit facility in

the principal amount of up to 700 BTC (the “DIP Loan”) to be used for general wind down and



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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
      number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
      Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200,
      Seattle, WA 98104.



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liquidity purposes, including the payment of Administrative Expenses, as described herein and in

that certain Superpriority Debtor-In-Possession Credit Agreement, dated May 8, 2023, by and

among the DIP Lender, as lender, and the Debtors, as borrower (substantially in the form attached

to the Motion, together with all schedules, exhibits and annexes thereto, and as any time amended,

the “DIP Loan Agreement”), of which amount 250 BTC will be available under the DIP Loan on

an interim basis (the “Interim Amount Limit”) during the Interim Period (as defined below), on

the terms and conditions set forth in the DIP Loan Documents (as defined in the DIP Loan

Agreement) and in this Interim Order;

       (b)     authorizing the Debtors to execute and enter into the DIP Loan Documents and to

perform all such other and further acts as may be required in connection with the DIP Loan

Documents;

       (c)     authorizing the Debtors to use proceeds of the DIP Loan solely as expressly

permitted in the DIP Loan Documents and in accordance with this Interim Order; pursuant to

Bankruptcy Code section 364(c)(1), granting the DIP Lender an allowed super-priority

administrative expense claim against the Debtors for the amounts advanced under the DIP Loan

(the “DIP Super-priority Claims”) (without the need to file any proofs of claim or request for

payment of administrative expenses), with priority over any and all administrative expenses of any

kind or nature, subject only to the Carve-Out, and the DIP Super-priority Claims shall be payable

from and have recourse to all pre-petition and post-petition property of the Debtor and all proceeds

thereof. Except as set forth in, or permitted by, this Interim Order, or with the consent of the DIP

Lender, no other super-priority administrative expense claims shall be granted or allowed in the

Chapter 11 Cases. The DIP Super-priority Claims shall be entitled to the full protection of section




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364(e) of the Bankruptcy Code in the event that this Interim Order or any provision hereof is

vacated, reversed or modified on appeal or otherwise.

        (d)      authorizing the Debtors to pay the principal, interest, fees, expenses, disbursements,

and other amounts payable under the DIP Loan Documents as such amounts become due and

payable;

        (e)      scheduling a final hearing (the “Final Hearing”) to consider entry of the Final

Order, and in connection therewith, giving and prescribing the manner of notice of the Final

Hearing on the Motion; and

        (f)      granting the Debtors such other and further relief as is just and proper.

        Based upon the Court’s review of the Motion, the exhibits attached thereto, the Declaration

of Evan Hengel, Co-Chief Restructuring Officer of the Debtors, in Support of the Chapter 11

Petition and First Day Motions (the “First Day Declaration”) and all matters brought to the Court’s

attention at the interim hearing, which was held on May 10, 2023, pursuant to Bankruptcy Rules

4001(b)(2) and (c)(2) (the “Interim Hearing”), and after due deliberation and consideration, and

good and sufficient cause appearing therefor,

IT IS HEREBY FOUND, DETERMINED, AND ADJUDGED, that: 2

        1.       Disposition. The Motion is hereby GRANTED, as and to the extent provided

herein. Any and all objections to the relief requested in the Motion, to the extent not otherwise

withdrawn, waived, or resolved by consent at or before the Interim Hearing, and all reservations

of rights included therein, are hereby OVERRULED and DENIED.




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    The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.



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       2.      Jurisdiction; Core Proceeding. This Court has jurisdiction over the Chapter 11

Cases, this Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334.

This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      Service of Motion and Notice of Interim Hearing. The Debtors have caused to be

served a notice of the Motion and the Interim Hearing, including a copy of the proposed Interim

Order and Budget (as defined below), by electronic mail, telecopy transmission, hand delivery,

overnight courier, or first class United States mail upon the Office of the United States Trustee

(the “U.S. Trustee”), the consolidated 30 largest unsecured creditors of the Debtors, the Internal

Revenue Service, all parties who have filed requests prior to the date of service for notices under

Rule 2002 of the Bankruptcy Rules, and all parties known by a Debtor to hold or assert a lien on

any asset of a Debtor. The foregoing notice of the Motion, as it relates to this Interim Order and

the Interim Hearing, is appropriate, due, and sufficient under the Bankruptcy Code, the Bankruptcy

Rules, and the Local Bankruptcy Rules, including, without limitation, Sections 102(1) and 364 of

the Bankruptcy Code and Bankruptcy Rule 4001(b), (c) and (d), and that no further notice of the

relief sought at the Interim Hearing and the relief granted herein is necessary or required.

       4.      Petition Date. On May 8, 2023 (the “Petition Date”), each of the Debtors filed with

the Court its respective voluntary petition for relief under chapter 11 of the Bankruptcy Code, and

each is continuing to manage its properties and to operate its business as a debtor in possession

pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed for any Debtor herein.




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       5.      Debtors’ Stipulations. Without prejudice to the rights of any other party (but

subject to the limitations thereon contained in Paragraph 26 below), each Debtor admits, stipulates,

acknowledges, and agrees as follows:

                   a. Need for Financing. An immediate and ongoing need exists for the
                      Debtors to obtain the DIP Loan in order to permit, among other
                      things, the orderly wind down of the operation of their U.S. and
                      Malta businesses. The Debtors do not have sufficient available
                      resources of working capital to orderly wind down their businesses
                      without post-petition financing. The Debtors’ ability to orderly
                      wind down their U.S. and Malta businesses is essential to the
                      Debtors’ preservation of the value of their assets for distribution to
                      all stakeholders, including customers and other creditors.

       6.      Findings Regarding the DIP Loan.

                   a. Good Cause. Good cause has been shown for the entry of this
                      Interim Order and authorization for the Debtors to incur DIP
                      Obligations (as defined below) pursuant to the DIP Loan Agreement
                      as hereinafter provided up to the Interim Amount Limit during the
                      Interim Period. Each Debtor’s need for financing of the type
                      afforded by the DIP Loan Agreement is immediate and critical.
                      Entry of this Interim Order will preserve the assets of each Debtor’s
                      estate and its value for distribution to all stakeholders. The terms of
                      the proposed financing are fair and reasonable, reflect each Debtor’s
                      exercise of business judgment, and are supported by reasonably
                      equivalent value and fair consideration.

                   b. Proposed DIP Loan. The Debtors have requested that the DIP
                      Lender establish the delayed draw DIP term loan facility pursuant
                      to which the Debtors may obtain advances from time to time
                      (“Advances”) (the “DIP Loan,” and collectively with all other debts,
                      obligations, liabilities, and indemnities of the Debtors under the DIP
                      Loan Documents, the “DIP Obligations”), all in accordance with
                      and subject to the terms of the DIP Loan Documents. The DIP
                      Lender is willing to establish the DIP Loan upon the terms and
                      conditions set forth herein and in the DIP Loan Agreement,
                      substantially in the form attached to the Motion, and the other DIP
                      Loan Documents.

                   c. No Credit Available on More Favorable Terms.       The terms of
                      the DIP Loan Documents are favorable and it is unlikely that better
                      terms could otherwise be obtained. The Debtors are also unable to
                      obtain unsecured credit allowable under Section 364(c)(1) of the
                      Bankruptcy Code without granting DIP Super-priority Claims (as


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      defined in Paragraph 9 below) under the terms and conditions set
      forth in this Interim Order and in the DIP Loan Documents.

   d. Budget/Reporting.     The Debtors have prepared and annexed to
      this Interim Order as Exhibit 1 hereto a budget (as at any time
      amended or supplemented with the written consent of the DIP
      Lender, the “Budget”) which sets forth, among other things, the
      projected cash receipts and disbursements for the periods covered
      thereby and which the Debtors believe in good faith to be realistic
      and achievable. The DIP Lender is relying upon the Budget in
      entering into the DIP Loan Agreement. On the fourth business day
      of each calendar month from and after the initial advance of the DIP
      Loan, the Debtors shall deliver to the DIP Lender, in a form
      reasonably acceptable to the DIP Lender, a monthly variance report
      variance report showing all receipts and disbursements of the
      Debtors during the prior month and on a cumulative basis for the
      Chapter 11 Cases, along with any variances on a line item basis
      against the Budget.

   e. Certain Conditions to DIP Loan.     The DIP Lender’s willingness
      to make DIP Loan pursuant to the DIP Loan Documents is
      conditioned upon, among other things, (i) the Debtors obtaining
      Court approval of the DIP Loan Agreement and all DIP Obligations
      of the Debtors and all rights and remedies of the DIP Lender
      thereunder; and (ii) the DIP Lender receiving, as a benefit for the
      prompt payment of all DIP Obligations, a super-priority on its claim
      as set forth herewith.

   f. Interim Hearing.       Pursuant to Bankruptcy Rules 4001(b)(2) and
      (c)(2) and Local Bankruptcy Rule 4001-2, the Court has held the
      Interim Hearing and hereby authorizes Debtors to obtain DIP Loan
      during the period from the date of entry of this Order through the
      date on which the final hearing on the Motion pursuant to
      Bankruptcy Rules 4001(b)(2) and (c)(2) scheduled pursuant to
      Paragraph 24 of this Interim Order is concluded (the “Interim
      Period”), for purposes specified in the initial Budget.

   g. Finding of Good Faith.         Based upon the record presented at
      the Interim Hearing, the DIP Loan was negotiated in good faith and
      at arm’s-length between the Debtors and the DIP Lender. All of the
      DIP Obligations including, without limitation, the DIP Loan made
      pursuant to the DIP Loan Agreement and all other liabilities and
      obligations of any Debtors under this Interim Order owing to the
      DIP Lender shall be deemed to have been extended by the DIP
      Lender in “good faith,” as such term is used in Section 364(e) of the
      Bankruptcy Code, and in express reliance upon the protections
      offered by Section 364(e) of the Bankruptcy Code. The DIP Lender


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            shall be entitled to the full protection of Section 364(e) of the
            Bankruptcy Code in the event that this Interim Order or any
            provision hereof is vacated, reversed, or modified, on appeal or
            otherwise.

        h. Immediate Entry.       The Debtors have requested immediate entry
           of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and
           4001(c)(2) and the Local Bankruptcy Rules. Absent granting the
           interim relief sought by the Motion, each Debtor’s estate will be
           immediately and irreparably harmed pending the Final Hearing.
           The Debtors’ consummation of the DIP Loan in accordance with the
           terms of this Interim Order and the DIP Loan Agreement is
           consistent with each Debtor’s exercise of its fiduciary duties. Under
           the circumstances, the notice given by the Debtors of the Motion
           and the Interim Hearing constitutes due and sufficient notice thereof
           and complies with Bankruptcy Rules 4001(b) and (c) and the Local
           Rules. No further notice of the relief sought at the Interim Hearing
           is necessary or required.

7.   Authorization of Interim Financing; Use of Proceeds.

        a. The Court hereby authorizes and approves the Debtors’ execution
           and delivery of the DIP Loan Agreement in substantially the form
           annexed to the Motion (with such changes, if any, as were made
           prior to or as a result of the Interim Hearing or are otherwise
           authorized to be made as amendments to the DIP Loan Agreement
           in accordance with this Interim Order) and all DIP Loan Documents.

        b. The Debtors are hereby authorized to borrow money pursuant to the
           DIP Loan Documents, on the terms and subject to the conditions, set
           forth in any DIP Loan Document and this Interim Order, up to an
           aggregate outstanding principal amount at any time not exceeding
           the sum of 700 BTC, plus applicable interest, expenses, fees and
           other charges payable in connection with such DIP Loan, and to
           incur any and all liabilities and obligations under the DIP Loan
           Documents and to pay all principal, interest, fees, expenses and
           other obligations provided for under the DIP Loan Documents
           (including any obligations, to the extent provided for in the DIP
           Loan Documents, to indemnify the DIP Lender).

        c. The DIP Lender shall not have any obligation or responsibility to
           monitor any Debtor’s use of the DIP Loan, and the DIP Lender may
           rely upon each Debtor’s representations that the amount of DIP
           Loan requested at any time, and the use thereof, are in accordance
           with the requirements of this Interim Order, the DIP Loan
           Documents, and Bankruptcy Rule 4001(c)(2).



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                  d. No proceeds of any DIP Loan shall be used to (i) make any payment
                     in settlement or satisfaction of any pre-petition claim, unless such
                     payment is permitted under the DIP Loan Documents and by order
                     of this Court; or (ii) to make any payment otherwise prohibited by
                     this Interim Order.

       8.      Execution, Delivery and Performance of DIP Loan Documents. The DIP Loan

Documents may be executed and delivered on behalf of each Debtor by any officer, director, or

agent of such Debtor, who by signing shall be deemed to represent himself or herself to be duly

authorized and empowered to execute the DIP Loan Documents for and on behalf of such Debtor.

The DIP Lender shall be authorized to rely upon any such person’s execution and delivery any of

the DIP Loan Documents as having been done with all requisite power and authority so to do, and

the execution and delivery of any of the DIP Loan Documents or amendments thereto by any such

person on behalf of such Debtor shall be conclusively presumed to have been duly authorized by

all necessary corporate, limited liability company, or other entity action (as applicable) of such

Debtor. Upon execution and delivery thereof, each of the DIP Loan Documents shall constitute

valid and binding obligations of each Debtor, enforceable against each Debtor in accordance with

their terms for all purposes during its Chapter 11 Case, any subsequently converted case of such

Debtor under Chapter 7 of the Bankruptcy Code (each, a “Successor Case”), and after the dismissal

of its Chapter 11 Case with respect to those provisions of the DIP Loan Documents which

expressly survive the Termination Date and any such dismissal. Subject to Paragraph 26 of this

Interim Order, no obligation, payment, or transfer under the DIP Loan Documents or this Interim

Order shall be stayed, restrained, voidable, avoidable, or recoverable under the Bankruptcy Code

or under any applicable non-bankruptcy law (including, without limitation, under Sections 502(d),

544, 548 or 549 of the Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer

Act, Uniform Fraudulent Conveyance Act, or similar statute or common law), or subject to any

defense, reduction, setoff, recoupment, or counterclaim. In furtherance of the provisions of


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Paragraph 7 of this Interim Order, each Debtor is authorized to do and perform all acts: to make,

execute and deliver all instruments and documents (including, without limitation, amendments,

waivers, consents, and other modifications) and to pay all reasonable fees, costs and expenses in

each case as may be necessary or, in the opinion of the DIP Lender, desirable to give effect to any

of the terms and conditions of the DIP Loan Documents, or as may otherwise be required or

contemplated by the DIP Loan Documents.

       9.      Super-priority Claims. All DIP Obligations shall constitute joint and several

allowed super-priority administrative claims (the “DIP Super-priority Claims”) against the Debtors

(without the need to file any proof of claim) pursuant to Section 364(c)(1) of the Bankruptcy Code

having priority in right of payment over all other obligations, liabilities, and indebtedness of each

Debtor, whether now in existence or hereafter incurred by any Debtor, and over any and all

administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

Code, and over any and all administrative expenses or other claims arising under Sections 105,

326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to entry of the Final Order approving the grant),

507, 546(c), 552(b) 726, 1113, or 1114 of the Bankruptcy Code. Such DIP Super-priority Claims

shall for purposes of Section 1129(a)(9)(A) of the Bankruptcy Code be considered administrative

expenses allowed under Section 503(b) of the Bankruptcy Code and shall be payable from and

have recourse to all pre-petition and post-petition property of Debtors and all proceeds thereof;

provided, however, that the DIP Super-priority Claims shall be subject to the Carve-Out (as defined

in Paragraph 14). In addition to all rights of indemnity and subrogation any Debtor may have

under applicable law, each Debtor agrees that in the event such Debtor is the initial obligor of an

Obligation (the “Obligor Debtor”), for which a payment is made by another Debtor (the “Paying

Debtor”), the Obligor Debtor shall indemnify the Paying Debtor for the full amount of such




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payment (in all cases after payment of the Obligations to the DIP Lender in full), and the Paying

Debtor shall be subrogated to the rights of the party to whom such payment shall have been made

to the extent of such payment (in all cases after payment of the Obligations to the DIP Lender in

full).

         10.    Repayment. The DIP Obligations shall be due and payable, and shall be paid, as

and when provided in the DIP Loan Documents and as provided herein, without offset or

counterclaim. Without limiting the generality of the foregoing, in no event shall any Debtor be

authorized to offset or recoup any amounts owed, or allegedly owed, by the DIP Lender to any

Debtor or any of its respective subsidiaries or affiliates against any of the DIP Obligations without

the prior written consent of DIP Lender that would be affected by any such offset or recoupment,

and no such consent shall be implied from any action, inaction or acquiescence by the DIP Lender.

The DIP Loan will be made in BTC and repayment of the principal amount of the DIP Loan will

be in BTC. All other DIP Obligations will be repaid, at the Debtors’ option, in BTC, U.S. dollars,

or any combination thereof. If the Debtors do not have sufficient BTC on hand to repay at maturity

the full principal amount of the DIP Loan in BTC and there is a shortfall, the Debtors will use the

currencies they possess at that time of repayment to acquire the additional BTC to pay that

shortfall. The amount of BTC the Debtors may need to acquire to pay such shortfall shall be

capped at a number of BTC equal to 110% of the value of the shortfall on the Petition Date.

         11.    Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Lender shall be received free and clear of any claim, charge, assessment, or other liability,

including, without limitation, any such claim or charge arising out of or based on, directly or

indirectly, section 506(c) (subject to entry of the Final Order approving the grant) or the “equities




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of the case” exception of section 552(b) of the Bankruptcy Code (subject to entry of the Final

Order).

          12.    Fees and Expenses of Estate Professionals. Subject to the terms of the DIP Loan

Agreement and the Budget, for so long as no Event of Default has occurred, each Debtor is

authorized to use the DIP Loan to pay such compensation and expense reimbursement

(collectively, “Professional Fees”) of professional persons (including attorneys, financial advisors,

accountants, investment bankers, claims and/or noticing agents, appraisers, and consultants)

retained by any Debtor with Court approval or as an ordinary course professional (the “Debtors

Professionals”) or any official committee appointed in the Chapter 11 Cases (the “Committee”)

with Court approval (the “Committee Professionals,” collectively with the Debtors Professionals,

the “Professionals”), up to the amounts set forth for each Professional in the Budget and only to

the extent that such compensation and expense reimbursement is allowed and approved by the

Court (including through any interim compensation procedures approved by the Court); provided,

however, that, notwithstanding anything herein or in any other order of this Court to the contrary,

no proceeds of the DIP Loan shall be used to pay Professional Fees incurred for any Prohibited

Purpose (as defined below).

          13.    Section 506(c) Claims. Effective upon entry of the Final Order, no costs or

expenses of administration shall be imposed upon the DIP Lender pursuant to Section 506(c) of

the Bankruptcy Code or otherwise without the prior written consent of the DIP Lender from the

payments or proceeds remitted to the DIP Lender, and no such consent shall be implied from any

action, inaction or acquiescence by the DIP Lender, provided that the Carve-Out is fully funded

by the Debtors.




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       14.     Carve-Out.    Notwithstanding anything in this Interim Order, any DIP Loan

Documents, or any other order of this Court to the contrary, the DIP Obligations and the DIP

Super-priority Claims in favor of the DIP Lender shall be subject and subordinate in all respects

to the payment of the following Carve-Out. As used in this Interim Order, the “Carve-Out” means,

collectively, the aggregate amount needed for (i) accrued but unpaid fees, costs, and expenses of

the professionals of the Debtors and the Committee incurred at any time prior to the DIP Lender’s

delivery of a Carve-Out Trigger Notice, up to the amounts set forth for each Professional in the

Budget for such time period and only to the extent allowed by the Bankruptcy Court,

(ii) professional fees, costs and expenses of the Debtors and the Committee incurred after delivery

of a Carve-Out Trigger Notice not to exceed $250,000 with respect to the Professionals, to the

extent allowed by the Bankruptcy Court, and (iii) the payment of fees and expenses pursuant to

28 U.S.C. § 1930; provided, that nothing in this Interim Order shall be construed to impair the

ability of any party to object to the fees, expenses, reimbursements or compensation of any

Professional, whether or not in excess of the coverage provided by the Carve-Out. In no event

shall the Carve-Out, or the funding of the DIP Loan to satisfy the Carve-Out, result in any reduction

in the amount of the DIP Obligations. “Carve-Out Trigger Notice” means written notice by the

DIP Lender to the Debtors invoking the Carve-Out, which notice may be delivered at any time

after the occurrence, and during the continuation, of an Event of Default.

       15.     Excluded Professional Fees. Notwithstanding anything to the contrary in this

Interim Order, neither the Carve-Out, nor the proceeds of the DIP Loan in any respect, shall be

used to pay any Professional Fees or any other fees or expenses incurred by any Professional in

connection with any of the following (each a “Prohibited Purpose”): (a) objecting to or contesting

the validity or enforceability of this Interim Order or any DIP Loan; (b) asserting or prosecuting




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any claim or cause of action against the DIP Lender, other than to enforce the terms of the DIP

Loan or this Interim Order; (c) seeking to modify any of the rights granted under this Interim Order

to the DIP Lender; or (d) objecting to, contesting, delaying, preventing or interfering in any way

with the exercise of rights and remedies by the DIP Lender after the occurrence and during the

continuance of an Event of Default, provided that the Debtors may contest or dispute whether an

Event of Default has occurred and shall be entitled to any notice provisions provided in this Interim

Order.

         16.    Preservation of Rights Granted Under This Interim Order.

                   a. Protection from Subsequent Financing Order. There shall not be
                      entered in any of the Chapter 11 Cases or in any Successor Case any
                      order that authorizes the obtaining of credit or the incurrence of
                      indebtedness by any Debtor (or any trustee or examiner) that is
                      entitled to a security interest in any of the Debtors’ assets or priority
                      administrative status that is equal or senior to the DIP Super-priority
                      Claims granted to the DIP Lender herein; provided, however, that
                      nothing herein shall prevent the entry of an order that specifically
                      provides for, as a condition to the granting of the benefits of clauses
                      (i) or (ii) above, the full payment of all of the DIP Obligations, in
                      the manner required by the DIP Loan Agreement, from the proceeds
                      of such credit or indebtedness, and the termination of any funding
                      commitments under the DIP Loan.

                   b. Rights Upon Dismissal, Conversion, or Consolidation. If any of the
                      Chapter 11 Cases are dismissed, converted, or substantively
                      consolidated with another case, then neither the entry of this Interim
                      Order nor the dismissal, conversion, or substantive consolidation of
                      any of the Chapter 11 Cases shall affect the rights or remedies of the
                      DIP Lender under the DIP Loan Documents or the rights or remedies
                      of the DIP Lender under this Interim Order, and all of the respective
                      rights and remedies hereunder and thereunder of the DIP Lender
                      shall remain in full force and effect as if such Chapter 11 Case had
                      not been dismissed, converted, or substantively consolidated.
                      Unless and until full payment of all DIP Obligations, in the manner
                      required by the DIP Loan Agreement, has occurred, it shall
                      constitute an Event of Default if any Debtor seeks, or if there is
                      entered, any order dismissing any of the Chapter 11 Cases. If an
                      order dismissing any of the Chapter 11 Cases is at any time entered,
                      such order shall provide (in accordance with Sections 105 and 349
                      of the Bankruptcy Code) that (i) the DIP Super-priority Claims shall


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                     continue in full force and effect and shall maintain their priorities as
                     provided in this Interim Order until full payment of all DIP
                     Obligations, in the manner required by the DIP Loan Agreement,
                     (ii) such DIP Super-priority Claims shall, notwithstanding such
                     dismissal, remain binding on all parties in interest, (iii) the other
                     rights granted by this Interim Order shall not be affected, including
                     the rights granted by Paragraph 26 of this Interim Order, and (iv) this
                     Court shall retain jurisdiction, notwithstanding such dismissal, for
                     the purposes of enforcing the claims, liens and security interests
                     referred to in this Paragraph and otherwise in this Interim Order.

                  c. Survival of Interim Order. The provisions of this Interim Order, and
                     any actions taken pursuant hereto, shall survive the entry of and shall
                     govern with respect to any conflict with any order that may be
                     entered confirming any plan of reorganization or liquidation in any
                     of the Chapter 11 Cases or any Successor Case.

                  d. No Discharge. None of the DIP Obligations shall be discharged by
                     the entry of any order confirming a plan of reorganization or
                     liquidation in any of the Chapter 11 Cases and, pursuant to
                     Section 1141(d)(4) of the Bankruptcy Code, each Debtor has waived
                     such discharge.

                  e. No Requirement to File Claim for DIP Obligations.
                     Notwithstanding anything to the contrary contained in any prior or
                     subsequent order of the Court, including, without limitation, any bar
                     date order establishing a deadline for the filing of proofs of claim
                     entitled to administrative expense treatment under Section 503(b) of
                     the Bankruptcy Code, the DIP Lender shall not be required to file
                     any proof of claim with respect to any of the DIP Obligations, all of
                     which shall be due and payable in accordance with the DIP Loan
                     Documents without the necessity of filing any such proof of claim;
                     and the failure to file any such proof of claim shall not affect the
                     validity or enforceability of any of the DIP Loan Documents or
                     prejudice or otherwise adversely affect any rights, remedies,
                     powers, or privileges of the DIP Lender under any of the DIP Loan
                     Documents or under this Interim Order.

       17.    Amendments to DIP Loan Documents. The Debtors and the DIP Lender are hereby

authorized to implement, in accordance with the terms of the applicable DIP Loan Documents and

without further order of the Court, any amendments to and modifications of any of such DIP Loan

Documents on the following conditions: (a) the amendment or modification must not constitute a

Material Change (as defined below) to the terms of such DIP Loan Documents and (b) copies of


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the amendment or modification must be served upon counsel for the Committee (and, prior to the

appointment of a Committee, upon the Debtors’ consolidated 30 largest unsecured creditors), the

U.S. Trustee and other interested parties specifically requesting such notice. Any amendment or

modification that constitutes a material change, to be effective, must be approved by the Court.

For purposes hereof, a “Material Change” shall mean a change to a DIP Loan Document that

operates to shorten the DIP Loan or the maturity of the DIP Obligations, to increase the aggregate

amount of the commitments of the DIP Lender under the DIP Loan, to increase the rate of interest

other than as currently provided in or contemplated by the DIP Loan Documents, to add specific

Events of Default, or to enlarge the nature and extent of remedies available to the DIP Lender

following the occurrence of an Event of Default. Without limiting the generality of the foregoing,

any amendment of a DIP Loan Document to postpone or extend any date or deadline therein

(including, without limitation, the expiration of the term of the DIP Loan) shall not constitute a

Material Change and may be effectuated by Debtors and the DIP Lender without the need for

further approval of the Court.

       18.     Events of Default; Remedies.

                   a. Events of Default.    The occurrence of any “Event of Default”
                      under (and as defined in) the DIP Loan Agreement shall constitute
                      an Event of Default under this Interim Order.

                   b. Default Remedies.     Upon the occurrence and during the
                      continuance of any Event of Default, the DIP Lender may
                      (notwithstanding the provisions of Section 362 of the Bankruptcy
                      Code and without application or motion to, or order from, the
                      Bankruptcy Court) by written notice to the Debtors, (a) send the
                      Carve-Out Trigger Notice and (b) declare (i) the unpaid principal
                      amount of and accrued interest on the Loans and (ii) all other DIP
                      Obligations, immediately due and payable, without presentment,
                      demand, protest or other requirements of any kind, all of which are
                      hereby expressly waived by the Debtors, and the same shall
                      forthwith become immediately due and payable, and the obligation
                      of the DIP Lender to make any Loans, and the Commitment, shall
                      thereupon terminate. Upon the occurrence and during the


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                       continuance of any Event of Default, the DIP Lender shall be
                       required to obtain the authority of this Court to exercise any rights
                       and remedies of the DIP Lender forth in any of the Loan Documents,
                       in addition to all rights and remedies allowed by the United States
                       and any state thereof.

                   c. Rights Cumulative. The rights, remedies, powers, and privileges
                      conferred upon DIP Parties pursuant to this Interim Order shall be
                      in addition to and cumulative with those contained in the applicable
                      DIP Loan Documents.

       19.     Effect of Stipulations on Third Parties; Deadline for Challenges.

                   a. Each Debtor’s admissions, stipulations, agreements, and releases
                      contained in this Interim Order, including, without limitation, those
                      contained in Paragraph 5 of this Interim Order, shall be binding upon
                      such Debtor and any successor thereto (including, without limitation
                      any Chapter 7 trustee or Chapter 11 trustee or examiner appointed
                      or elected for such Debtor) under all circumstances and for all
                      purposes.

                   b. Each Debtor’s admissions, stipulations, agreements, and releases
                      contained in this Interim Order, including, without limitation, those
                      contained in Paragraph 5 of this Interim Order, shall be binding upon
                      all other parties in interest (including, without limitation, any
                      Committee) under all circumstances and for all purposes unless the
                      Court rules in favor of the plaintiff in any such timely and properly
                      filed adversary proceeding or contested matter.

       20.     Service of Interim Order. Promptly after the entry of this Interim Order, the

Debtors shall mail, by first class mail, a copy of this Interim Order, the Motion (and all exhibits

attached to the Motion), and a notice of the Final Hearing, to (without duplication) counsel for the

DIP Lender, the U.S. Trustee, counsel for the Committee (or, if the Committee has not been formed

and selected counsel as of the entry of this Interim Order, then the Debtors’ consolidated fifty

largest unsecured creditors), the Internal Revenue Service, all parties who have filed requests for

notices under Rule 2002 of the Bankruptcy Rules prior to the time of such service, and all parties

known by a Debtor to hold or assert a lien on any assets of a Debtor, and shall file a certificate of

service regarding same with the Clerk of the Court. Such service shall constitute good and



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sufficient notice of the Final Hearing and the relief sought by the Debtors pursuant to the proposed

Final Order.

        21.     No Deemed Control. In determining to make any Advance under the DIP Loan, or

in exercising any rights or remedies as and when permitted pursuant to this Interim Order, any

Final Order, or the DIP Loan Documents, the DIP Lender shall not be deemed to be in control of

any Debtor or its operations.

        22.     Exculpation. Nothing in this Interim Order, the DIP Loan Documents, or any other

document related to the DIP Loan shall in any way be construed or interpreted to impose or allow

the imposition upon the DIP Lender any liability for any claims arising from the pre-petition or

post-petition activities of any Debtor in the operation of its business or in connection with its

restructuring efforts.

        23.     Binding Effect; Successors and Assigns.          The provisions of the DIP Loan

Documents and this Interim Order, including all findings herein (subject to Paragraph 26 of this

Interim Order) shall be binding upon all parties in interest in these Chapter 11 Cases, including,

without limitation, the DIP Lender, the Debtors, the Committee, and their respective successors

and assigns (including any Chapter 11 trustee hereafter appointed for the estate of any Debtor, any

Chapter 7 trustee appointed or elected in a Successor Case, any examiner appointed pursuant to

Section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative of

any Debtor or with respect to the property of the estate of any Debtor), and shall inure to the benefit

of DIP Lender and its respective successors and assigns.

        24.     Final Hearing. The Final Hearing to consider entry of the Final Order shall be held

at 11:00 a.m., prevailing Eastern time on June 7 2023, at the United States Bankruptcy Court,

824 Market Street North, Wilmington, Delaware 19801. The Final Hearing may be adjourned or




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postponed without further notice except as may be announced in open Court or posted on the

Court’s docket. If any or all of the provisions of this Interim Order are modified, vacated, or stayed

as the result of any Objection (as defined below) timely filed and asserted at the Final Hearing,

then, without limiting the provisions of Paragraph 26 hereof, any DIP Obligations incurred prior

to the effective date of such modification, vacation, or stay shall be governed in all respects by the

original provisions of this Interim Order, and the DIP Lender shall be entitled to the protections

afforded under Section 364(e) of the Bankruptcy Code and to all the rights, remedies, privileges,

and benefits, including, without limitation, the DIP Super-priority Claims granted herein and

pursuant to the DIP Loan Documents with respect to all such DIP Obligations.

       25.     Objection Deadline. If any party in interest shall have an objection to any of the

provisions of this Interim Order, any provisions of the DIP Loan Documents, or any provisions of

the proposed Final Order (collectively, an “Objection”), such party may assert such Objection at

the Final Hearing, if a written statement setting forth the basis for such Objection is filed with the

Court and concurrently served so as to be received on or before 4:00 p.m., prevailing Eastern

time on May 31, 2023, by the following: (a) the Office of the United States Trustee, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801; (b) counsel for the Debtors, Quinn

Emanuel Urquhart & Sullivan, LLP, Attn.: Patricia B. Tomasco, Joanna D. Caytas, 711 Louisiana

Street, Suite 500, Houston, TX 77002; Quinn Emanuel Urquhart & Sullivan, LLP, Attn.: Daniel

Holzman, 51 Madison Avenue, 22nd Floor, New York, New York 10010; email:

pattytomasco@quinnemanuel.com,                                 danielholzman@quinnemanuel.com,

joannacaytas@quinnemanuel.com; and (c) counsel for the DIP Lender, Pachulski Stang Ziehl &

Jones LLP, Attn.: Laura Davis Jones, 919 North Market Street, 17th Floor, Wilmington, DE

19801, email: ljones@pszjlaw.com. If an objecting party shall fail to appear at the Final Hearing




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and assert the basis for such Objection before the Court, such Objection shall be deemed to have

been waived and abandoned by such objecting party.

       26.     Effectiveness; Enforceability. This Interim Order shall constitute findings of fact

and conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the Petition

Date immediately upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6006(d),

7062, or 9014 of the Bankruptcy Rules or any other Bankruptcy Rule, or Rule 62(a) of the Federal

Rules of Civil Procedure, this Interim Order shall be valid, take full effect, and be enforceable

immediately upon entry hereof; there shall be no stay of execution or effectiveness of this Interim

Order; and any stay of the effectiveness of this Interim Order that might otherwise apply is hereby

waived for cause shown.

       27.     Reservation. Notwithstanding anything in this Order, the DIP Loan Documents or

any related documents, nothing in this Order, the DIP Loan Documents or any related documents

modifies, affects or impairs the United States of America’s rights, claims or defenses of

recoupment or setoff.

       28.     Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to enforce

the provisions of this Interim Order, and this retention of jurisdiction shall survive the confirmation

and consummation of any Chapter 11 plan for any Debtor notwithstanding the terms or provisions

of any such Chapter 11 plan or any order confirming any such Chapter 11 plan.

       29.     Inconsistencies. To the extent of any inconsistencies or conflicts between this

Interim Order and the DIP Loan Documents, this Interim Order shall govern.




 Dated: May 10th, 2023                             BRENDAN L. SHANNON
 Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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